
*599OPINION.
Black:
The question for decision is purely one of fact, viz., whether petitioner loaned or made a gift to his father of $30,000, or embarked in a joint venture with his father and contributed that amount to the joint enterprise. There is no doubt that one-fifth of the loss in the stock operations in the taxable year was $24,794.45.
There is no evidence of a gift and the only evidence of a loan is the entry on the journal, which was made by an accountant of his own volition and without any orders from either of the parties interested. On the other hand, the évidence is ample to the effect that the petitioner and his father embarked in a joint venture for the year 1923 with interests in the proportion of one to five, that petitioner contributed $30,000' thereto and sustained a loss of $24,794.45. Petitioner is entitled to a deduction of $24,794.45 from gross income for 1923.

Judgment will be entered under Rule 50.

